                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF TEXAS
                                    SHERMAN DIVISION

 UNITED STATES OF AMERICA                        §
                                                 §        No. 4:20-CR-00382
 v.                                              §
                                                 §        Judge Jordan
 SAAD AZIZ (104)                                 §

                                 BILL OF PARTICULARS

        The government files this Bill of Particulars in the above referenced action. In the

Notice of Intention to Seek Criminal Forfeiture within the Indictment in this action the

government described property as being subject to forfeiture pursuant to 18 U.S.C.

§§ 981(a)(1)(c), 982, and 924(d); and 28 U.S.C. § 2461.

        The government now gives notice of its intention to seek forfeiture pursuant to 18

U.S.C. §§ 981(a)(1)(c), 982, and 924(d); and 28 U.S.C. § 2461 of the property more fully

described below:

             a. One pallet containing (12) 60” Samsung Series QLED Q60A;

             b. One pallet containing (13) 60” Samsung Series QLED Q60A;

             c. Three pallets containing (96) Sony PlayStation 5 Console(s);

             d. One pallet containing approximately 45 DeWalt Drills;

             e. One pallet containing approximately 38 Porter Cable “4 Tool Combo Kits,
                and other various tools;

             f. One pallet containing approximately 12 Makita Tools; 1 Bostitch Coil
                Roofing Nailer and 1 Ridged “JobMax” multi-tool;




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             g. One pallet containing approximately 58 Milwaukee Tools of various
                models and 1 Bosh Bulldog Xtreme (rotary hammer);

             h. Two pallets containing approximately 54 tools. 21 Makita, 8 DeWalt and
                25 Metabo nail guns; and

             i. Four pallets containing (42) Misc. computer monitors.


                                                   Respectfully submitted,
                                                   BRIT FEATHERSTON
                                                   UNITED STATES ATTORNEY

                                                   /s/
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                               CERTIFICATE OF SERVICE

        I hereby certify that a copy of the foregoing was filed via electronic filing to

defense counsel on February 9, 2022.

                                                   ___/s/__________________________
                                                   ERNEST GONZALEZ




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